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                              EXHIBIT D
7/24/24, 9:50Case
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                                                                           Termination of Contract




     Notice of Termination of Contract

     From: Kathy Villalba (kathy@villavieresidences.com)

     To:      jennypfam@yahoo.com

     Cc:      mike@villavieresidences.com; anne@villavieresidences.com
     Date: Friday, July 19, 2024 at 10:47 AM GMT+1



     July 19, 2024

     Jenny Phenix
     1261 Gondola Ct
     Boynton Beach, FL 33426

     Subject: Notice of Termination of Contract

     Dear Jenny,

     We regret to inform you that your contract with Villa Vie Residences has been canceled for the following reasons:

           1. Cancellation of Segments 1 and 2: Due to your cancellation of these segments, your entire agreement with
              Villa Vie Residences is considered null and void. We will proceed with refunding the payments made for these
              segments in accordance with our normal procedures. Since you have not purchased any additional segments,
              your contract with us is terminated.
           2. Behavior Impacting Community Morale: We have received over a dozen formal complaints from residents
              regarding your continuous complaints and negativity. This behavior has significantly impacted the morale and
              well-being of other passengers. At VVR, we are committed to maintaining a positive and enjoyable environment
              for all our guests. Given the overwhelming feedback, we must cancel your contract permanently to uphold the
              well-being and satisfaction of our community.

     When we first initiated our operations, the specifics of our offerings were not finalized as we had not yet acquired our
     vessel. Consequently, the information provided was fluid and subject to change based on the capabilities of the vessel
     we ultimately purchased. We reserve the right to adjust the scope of our services to align with the capabilities and
     specifications of our ship.

     We greatly value community feedback as it is essential to the foundation and growth of our venture. However, the
     manner in which feedback is conveyed must be constructive and conducive to the community environment and most
     importantly respectful. Unfortunately, the way in which your feedback has been presented does not align with these
     principles.

     We appreciate your understanding in this matter. Should you have any questions regarding the refund process, please
     do not hesitate to contact admin@villavieresidences.com.

     Respectfully,

     Kathy Villalba
     Chief Operating Officer
     Villa Vie Residences




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